     Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 1 of 58 Page ID #:1



1
2        PIERCE BAINBRIDGE BECK PRICE
         & HECHT LLP
3        Thomas D. Warren (State Bar No. 160921)
         twarren@piercebainbridge.com
4        Andrew Calderón (State Bar No. 316673)
         acalderon@piercebainbridge.com
5        355 S. Grand Avenue, 44th Floor
6        Los Angeles, CA 90071
         Telephone: (213) 262-9333
7        Facsimile: (213) 279-2008
8        Dwayne D. Sam (pro hac
9        application forthcoming)
         dsam@piercebainbridge.com
10       600 Pennsylvania Avenue NW
11       South Tower, Suite 700
         Washington, DC 20004
12       Telephone: (202) 843-8342
13       Facsimile: (646) 968-4125
14       Counsel for Plaintiff Seth Shapiro
15
16
                          THE UNITED STATES DISTRICT COURT
17                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
19
20      SETH SHAPIRO,                         Case No. 2:19-cv-8972
21                   Plaintiff,               CIVIL COMPLAINT
22             v.
23                                            DEMAND FOR JURY TRIAL
        AT&T MOBILITY, LLC,
24
                     Defendant.
25
26
27
28

                                    CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 2 of 58 Page ID #:2




    I.   NATURE OF THE ACTION
         1.     This action arises out of AT&T’s repeated failure to protect its
   wireless cell service subscriber—Seth Shapiro—from its own employees, resulting
   in massive and ongoing violations of Mr. Shapiro’s privacy, the compromise of his
   highly sensitive personal and financial information, and the theft of more than $1.8
   million.
         2.     AT&T is the country’s largest wireless service provider. Tens of
   millions of subscribers entrust AT&T with access to their confidential information,
   including information that can serve as a key to unlock subscribers’ highly
   sensitive personal and financial information.
         3.     Recognizing the harms that arise when wireless subscribers’ personal
   information is accessed, disclosed, or used without their consent, federal and state
   laws require AT&T to protect this sensitive information.
         4.     AT&T also recognizes the sensitivity of this data, and promises its
   subscribers that it “will protect [customers’] privacy and keep [their] personal
   information safe” and that it “will not sell [customers’] personal information to
   anyone, for any purpose. Period.” AT&T repeatedly broke these promises.
         5.     In an egregious violation of the law and its own promises, and despite
   advertising itself as a leader in technological development and as a cyber security-
   savvy company, AT&T repeatedly failed to protect Mr. Shapiro’s account and the
   sensitive data it contained. AT&T failed to implement sufficient data security
   systems and procedures and failed to supervise its own personnel, instead standing
   by as its employees used their position at the company to gain unauthorized access
   to Mr. Shapiro’s account in order to rob, extort, and threaten him in exchange for
   money.
         6.     AT&T’s actions and conduct were a substantial factor in causing
   significant financial and emotional harm to Mr. Shapiro and his family. But for

                                     –1–
                                  COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 3 of 58 Page ID #:3




   AT&T employees’ involvement in a conspiracy to rob Mr. Shapiro, and AT&T’s
   failure to protect Mr. Shapiro from such harm through adequate security and
   oversight systems and procedures, Mr. Shapiro would not have had his personal
   privacy repeatedly violated and would not have been a victim of SIM swap theft.
         7.     Mr. Shapiro brings this action to hold AT&T accountable for its
   violations of federal and state law, and to recover for the grave financial and
   personal harm suffered by Mr. Shapiro and his family as a direct result of AT&T’s
   acts and omissions, as detailed herein.
   II.   THE PARTIES
         8.     Plaintiff Seth Shapiro is, and at all relevant times was, a resident of
   California. Mr. Shapiro currently resides in Torrance, CA, with his wife and two
   young children.
          9.    Mr. Shapiro is a two-time Emmy Award-winning media and
   technology expert, author, and adjunct professor at the University of Southern
   California School of Cinematic Arts. He regularly advises Fortune 500 companies
   on business development in media and technology. Mr. Shapiro was also an early
   investor in digital currencies.
         10.    Mr. Shapiro is a former AT&T wireless customer. He purchased a
   wireless cell phone plan from AT&T in Los Angeles, California in approximately
   2006 for personal use and was an active, paying AT&T wireless subscriber at all
   times relevant to the allegations in this Complaint.
         11.    Defendant AT&T Mobility, LLC (hereinafter, “AT&T”) is a Delaware
   limited liability corporation with its principal office or place of business in
   Brookhaven, Georgia. AT&T “provides nationwide wireless services to consumers
   and wholesale and resale wireless subscribers located in the United States or U.S.
   territories” and transacts or has transacted business in this District and throughout
   the United States. It is the second largest wireless carrier in the United States, with

                                        –2–
                                     COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 4 of 58 Page ID #:4




   more than 153 million subscribers, earning $71 billion in total operating revenues
   in 2017 and $71 billion in 2018. As of December 2017, AT&T had 1,470 retail
   locations in California. 1
          12.    AT&T provides wireless service to subscribers in the United States.
   AT&T is a “common carrier” governed by the Federal Communications Act
   (“FCA”), 47 U.S.C. § 151 et seq. AT&T is regulated by the Federal
   Communications Commission (“FCC”) for its acts and practices, including those
   occurring in this District.
          13.    AT&T Inc., AT&T’s parent company, acknowledged in its 2018
   Annual Report that its “profits and cash flow are largely driven by [its] Mobility
   business” and “nearly half of [the] company’s EBITDA (earnings before interest,
   taxes, depreciation and amortization) come from Mobility.” 2
          14.    Despite the importance of its mobility business, instead of focusing on
   providing ramping up security for their customers, AT&T Inc. has gone on a
   buying spree costing over $150 billion, acquiring: Bell South (including Cingular
   Wireless and Yellowpages.com), Dobson Communications, Edge Wireless,
   Cellular One, Centennial, Wayport, Qualcomm Spectrum, Leap Wireless, DirecTV,
   and Iusacell and NII Holdings (now AT&T Mexico). During the same period,
   AT&T’s mobile phone business was rated as the worst among major providers.
   Consumer Reports named it the “worst carrier” in 2010, and the next year, J.D.
   Power found AT&T’s network the least reliable in the country—a dubious
   achievement that it also earned in prior years. Little wonder that its customers
   were the least happy of subscribers of the Big Four carriers according to the
   American Consumer Index. In the meantime, AT&T Inc. has purchased for a total
   equity value of $85.4 billion Time Warner Inc.—the owner of HBO, Warner Bros,

   1
     “About Us,” AT&T, available at https://engage.att.com/california/about-us/. All URLs in this
   complaint were last accessed on October 15, 2019.
   2
     Id.
                                        –3–
                                     COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 5 of 58 Page ID #:5




   CNN, Turner Broadcasting, Cartoon Network, Turner Classic Movies, TBS, TNT
   and Turner Sports.
   III.     JURISDICTION AND VENUE
            15.    This Court has jurisdiction over this matter under 28 U.S.C. § 1331
   because this case arises under federal question jurisdiction under the Federal
   Communications Act (“FCA”). The Court has supplemental jurisdiction under 28
   U.S.C. § 1367 over the state law claims because the claims are derived from a
   common nucleus of operative facts. The Court also has jurisdiction over this
   action pursuant to 28 U.S.C. § 1332 because Mr. Shapiro is a citizen of a different
   state than AT&T.
            16.    This Court has personal jurisdiction over AT&T because AT&T
   purposefully directs its conduct at California, transacts substantial business in
   California (including in this District), has substantial aggregate contacts with
   California (including in this District), engaged and is engaging in conduct that has
   and had a direct, substantial, reasonably foreseeable, and intended effect of causing
   injury to persons in California (including in this District), and purposely avails
   itself of the laws of California. AT&T had more than 33,000 employees in
   California as of 2017, and 1,470 retail locations in the state. 3 Mr. Shapiro
   purchased his AT&T wireless plan in California, visited AT&T retail locations in
   California, and was injured in California by the acts and omissions alleged herein.
            17.    In accordance with 28 U.S.C. § 1391, venue is proper in this District
   because a substantial part of the conduct giving rise to Mr. Shapiro’s claims
   occurred in this District and Defendant transacts business in this District. Mr.
   Shapiro purchased his AT&T wireless plan in this District and was harmed in this
   District, where he resides, by AT&T’s acts and omissions, as detailed herein.
   IV.      ALLEGATIONS APPLICABLE TO ALL COUNTS


   3
       “About Us,” AT&T California, supra at 1.
                                         –4–
                                      COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 6 of 58 Page ID #:6




         18.    As a telecommunications carrier, AT&T is entrusted with the sensitive
   wireless account information and personal data of millions of Americans, including
   Mr. Shapiro’s confidential and sensitive personal and account information.
         19.    Despite its representations to its customers and its obligations under
   the law, AT&T has failed to protect Mr. Shapiro’s confidential information. On at
   least four occasions between May 16, 2018 and May 18, 2019, AT&T employees
   obtained unauthorized access to Mr. Shapiro’s AT&T wireless account, viewed his
   confidential and proprietary personal information, and transferred control over Mr.
   Shapiro’s AT&T wireless number from Mr. Shapiro’s phone to a phone controlled
   by third-party hackers in exchange for money. The hackers then utilized their
   control over Mr. Shapiro’s AT&T wireless number—including control secured
   through cooperation with AT&T employees—to access his personal and digital
   finance accounts and steal more than $1.8 million from Mr. Shapiro.
         20.    This type of telecommunications account hacking behavior is known
   as “SIM swapping.”
         A.     SIM Swapping is a Type of Identity Theft Involving the Transfer
                of a Mobile Phone Number.

         21.    On four occasions in 2018 and 2019, Mr. Shapiro was the target of
   “SIM swapping.”
         22.    “SIM swapping” refers to a relatively simple scheme, wherein third
   parties take control of a victim’s wireless phone number. The hackers then use that
   phone number as a key to access the victim’s digital accounts, such as email, file
   storage, and financial accounts.
         23.    Most cell phones, including the iPhone owned by Mr. Shapiro at the
   time of his SIM swaps, have internal SIM (“subscriber identity module”) cards. A
   SIM card is a small, removable chip that allows a cell phone to communicate with
   the wireless carrier and the carrier to know what subscriber account is associated
   with that phone. The connection between the phone and the SIM card is made
                                    –5–
                                COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 7 of 58 Page ID #:7




   through the carrier, which associates each SIM card with the physical phone’s
   IMEI (“international mobile equipment identity”), which is akin to the phone’s
   serial number. Without a working SIM card and effective SIM connection, a phone
   typically cannot send or receive calls or text messages over the carrier network.
   SIM cards can also store a limited amount of account data, including contacts, text
   messages, and carrier information, and that data can help identify the subscriber.
          24.    The SIM card associated with a wireless phone can be changed. If a
   carrier customer buys a new phone that requires a different sized SIM card, for
   example, the customer can associate his or her account with a new SIM card and
   the new phone’s IMEI by working with their cell phone carrier to effectuate the
   change. This allows carrier customers to move their wireless number from one cell
   phone to another and to continue accessing the carrier network when they switch
   cell phones. For a SIM card change to be effective, the carrier must authenticate
   the request and actualize the change. AT&T allows its employees to conduct SIM
   card changes for its customers remotely or in its retail stores.
          25.    A SIM swap refers to an unauthorized and illegitimate SIM card
   change. During a SIM swap attack, the SIM card associated with the victim’s
   wireless account is switched from the victim’s phone to a phone controlled by a
   third party. This effectively moves the victim’s wireless phone—including any
   incoming data, texts, and phone calls associated with the victim’s phone—from
   their phone to a phone controlled by the third party (also referred to herein as a
   “hacker”). The hacker’s phone then becomes the phone associated with the
   victim’s carrier account, and the hacker receives all of the text messages and phone
   calls intended for the victim. 4 Meanwhile, the victim’s phone loses its connection
   to the carrier network.
   4
    As described by federal authorities in prosecuting SIM swap cases, SIM swapping enables
   hackers to “gain control of a victim’s mobile phone number by linking that number to a
   subscriber identity module (‘SIM’) card controlled by [the hackers]—resulting in the victim’s

                                         –6–
                                      COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 8 of 58 Page ID #:8




          26.     Once hackers have control over the victim’s phone number, they can
   use that control to access the victim’s personal online accounts, such as email and
   banking accounts, through exploiting password reset links sent via text message to
   the now-hacker-controlled-phone or the two-factor authentication processes
   associated with the victim’s digital accounts. Two-factor authentication allows
   digital accounts to be accessed without a password, or allows the account password
   to be changed. One common form of two-factor authentication is through text
   messaging. Rather than enter a password, the hacker requests that a password reset
   be sent to the mobile phone number associated with the account. Because the
   hacker now controls that phone number, the reset code is sent to them. The hacker
   can then log into, and change the password for, the victim’s account, allowing
   them to access the contents of the account. 5
          27.     The involvement of a SIM swap victim’s wireless carrier is critical to
   an effective SIM swap. In order for a SIM swap to occur and for a SIM swap
   victim to be at any risk, the carrier must receive a request to change a victim’s SIM
   card and effectuate the transfer of the victim’s phone number from one SIM card to
   another.
          28.     In Mr. Shapiro’s case, not only did AT&T employees access his
   account and authorize changes to that account without Mr. Shapiro’s consent, but
   its employees actively profited from this unauthorized access by knowingly giving
   control over his phone number to hackers for the purposes of robbing him.


   phone calls and short message service (‘SMS’) messages being routed to a device controlled by
   [a hacker].” United States of America v. Conor Freeman, et al., No. 2:19-cr-20246-DPH-APP
   (E.D. Mich. Filed Apr. 18, 2019) (hereafter, “Freeman Indictment”), ECF. No. 1 at ¶ 3 (attached
   hereto as Exhibit A).
   5
     See, e.g., Id. at ¶ 4 (“Once [hackers] had control of a victim’s phone number, it was leveraged
   as a gateway to gain control of online accounts such as the victim’s email, cloud storage, and
   cryptocurrency exchange accounts. Sometimes this was achieved by requesting a password-reset
   link be sent via [text messaging] to the device control by [hackers]. Sometimes passwords were
   compromised by other means, and [the hacker’s] device was used to received two-factor
   authentication (‘2FA’) message sent via [text message] intended for the victim.”).
                                         –7–
                                      COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 9 of 58 Page ID #:9




            B.     AT&T Allowed Unauthorized Access to Mr. Shapiro’s Account
                   Four Times Over the Course of Approximately One Year.

            29.    Between May 16, 2018 and May 18, 2019, AT&T employees accessed
   Mr. Shapiro’s AT&T wireless account without his authorization, obtained his
   confidential and proprietary personal information, and sold that information to
   third parties who then used it to steal from Mr. Shapiro, access his sensitive and
   confidential information, and threaten his family.
            30.    On May 16, 2018 at approximately 1:35 PM ET, Mr. Shapiro’s AT&T
   SIM card was changed without his knowledge or authorization for the first time.
            31.    At the time of the SIM swap, Mr. Shapiro was attending a conference
   in New York City. He noticed that his AT&T cell phone had lost service. Mr.
   Shapiro’s device was no longer connected to the AT&T wireless network, and he
   was no longer able to place or receive wireless calls.
            32.    Mr. Shapiro immediately suspected that a SIM swap attack was
   underway and called AT&T in an attempt to secure his account. Mr. Shapiro
   informed the AT&T customer service agent that he suspected his account had been
   accessed without authorization and that he was in possession of large amounts of
   digital currency, which he feared could be at risk.
            33.    During his call with AT&T, Mr. Shapiro repeatedly asked to speak to
   upper management or to be connected to the AT&T department responsible for
   security. AT&T records confirm Mr. Shapiro’s request to speak to the fraud
   department. Mr. Shapiro was (incorrectly) told that no such department existed,
   and his call was never escalated to management. Instead, he was put on lengthy
   holds and ultimately told to turn off his phone and go to an AT&T retail location
   for further assistance. His AT&T service was then suspended.
            34.    Immediately upon ending the call with AT&T’s customer service, Mr.
   Shapiro went to an AT&T retail store in Manhattan, New York. 6 Upon arriving,

   6
       This AT&T retail store is located at 1330 Avenue of the Americas, New York, NY 10019.
                                          –8–
                                       COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 10 of 58 Page ID #:10




    Mr. Shapiro informed AT&T employees—including an AT&T sales representative,
    Juneice Arias—that he suspected unauthorized SIM swap activity on his account
    and once again advised that he had confidential information and digital currency
    that could be at risk.
          35.    AT&T employees advised Mr. Shapiro to purchase a new wireless
    phone with a new SIM card from AT&T. On this advice, Mr. Shapiro purchased a
    new iPhone for several hundred dollars, as well as a new SIM card, in the AT&T
    retail store. AT&T employees then activated the new phone and the new SIM card
    and restored Mr. Shapiro’s service, thereby allowing Mr. Shapiro to regain control
    over his AT&T cell phone number.
          36.    AT&T employees told Mr. Shapiro at that time that they had noted the
    SIM swap activity in his account and assured him that his SIM card would not be
    swapped again without his authorization. On this assurance, Mr. Shapiro decided
    not to close his AT&T account.
          37.    Mere minutes later—while Mr. Shapiro was still in the AT&T retail
    store—Mr. Shapiro’s AT&T account was again improperly accessed, and the SIM
    card associated with his phone number was changed. Mr. Shapiro again lost
    control over his AT&T cell phone number.
          38.    Mr. Shapiro immediately informed AT&T employees that AT&T had
    once again allowed an unauthorized SIM swap. Employees informed him that he
    needed to wait until it was his turn to be assisted.
          39.    Mr. Shapiro waited for approximately 45 minutes inside the AT&T
    retail store for help from AT&T employees. In that time, third-party individuals
    were able to use their control over Mr. Shapiro’s AT&T cell phone number to
    access Mr. Shapiro’s personal and financial accounts and rob him of approximately
    $1.8 million, all while Mr. Shapiro stood helplessly in the AT&T store asking for
    the company’s help.

                                       –9–
                                    COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 11 of 58 Page ID #:11




            40.    While third parties had control over Mr. Shapiro’s AT&T wireless
    number, they used that control to access and reset the passwords for Mr. Shapiro’s
    accounts on cryptocurrency exchange platforms, including KuCoin, Bittrex, Wax,
    Coinbase, Huobi, Crytopia, LiveCoin, HitBTC, Coss.io, Liqui, and Bitfinex.
    Cryptocurrency exchanges are online platforms where different forms of
    cryptocurrency (e.g. bitcoin) are bought and sold.
            41.    Before the May 2018 SIM swaps, Mr. Shapiro had raised funds in the
    form of cryptocurrency for a new business venture. This capital, as well as Mr.
    Shapiro’s personal funds, was accessed by the hackers utilizing their control over
    Mr. Shapiro’s AT&T wireless number, although the business funds were stored
    separately from Mr. Shapiro’s personal funds.
            42.    By utilizing their control over Mr. Shapiro’s AT&T cell phone
    number—and the control of additional accounts (such as his email) secured
    through that number by utilizing two factor authentication—these third-party
    hackers were able to access Mr. Shapiro’s accounts on various cryptocurrency
    exchange platforms, including the accounts he controlled on behalf of his business
    venture. The hackers then transferred Mr. Shapiro’s currency from Mr. Shapiro’s
    accounts into accounts that they controlled. 7 In all, they stole more than $1.8
    million from Mr. Shapiro in the two consecutive SIM swap attacks on May 16,
    2018.
            43.    On information and belief, the hackers also utilized their control over
    Mr. Shapiro’s AT&T wireless number to access and steal Mr. Shapiro’s currency



    7
      See Affidavit for Search Warrant, Florida v. Ricky Handschumacher, No. 18-cf-4271-AXWS
    (6th Dis. Fl. July 25, 2018) (attached hereto as Exhibit B) at p. 8 (explaining how hackers—
    including hackers involved in robbing Mr. Shapiro—would “gain access to the victim’s email
    accounts and cryptocurrency exchanges…[and] use the victim’s funds to purchase
    cryptocurrencies and transfer it to a accounts [sic] or wallets the [hackers] controlled.”). Due to
    the nature of cryptocurrency, this process makes it extremely difficult to track and seize the
    location of stolen cryptocurrency.
                                          – 10 –
                                        COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 12 of 58 Page ID #:12




    on cryptocurrency exchanges (including Liqui.io, Livecoin, and Huobi) to which
    Mr. Shapiro was never able to regain access.
           44.    The hackers also used their control over Mr. Shapiro’s AT&T cell
    phone number to access and change the passwords for approximately 15 of Mr.
    Shapiro’s online accounts, including four email addresses, his Evernote account (a
    web application for taking notes and making task lists), and his PayPal account (a
    digital payment platform).
           45.    It took Mr. Shapiro approximately 14 hours to regain access to and
    restore control over his email and other personal accounts. By then, however, the
    damages was done: these accounts, and all of their contents, had already been
    compromised.
           46.    Criminal investigations into the May 2018 breaches to Mr. Shapiro’s
    AT&T account and the resulting theft revealed that at least two AT&T employees,
    acting in the scope of their employment, accessed and permitted others to access
    Mr. Shapiro’s AT&T account and the confidential information contained therein. 8
    As federal authorities describe, “These employees, while not necessarily knowing
    the entirety of [the hackers] plans, were aware that they were assisting in the theft
    of identities of subscribers to their employer’s services.” 9
           47.    The two AT&T employees involved, Robert Jack and Jarratt White, 10
    reside in Arizona. AT&T confirmed their employment, 11 their involvement in the



    8
      See Criminal Complaint and Affidavit, United States of America v. Jarratt White, et al., No.
    2:19-mj-30227-DUTY (E.D. Mich. Filed May 2, 2019) (hereafter, “White Affidavit”), ECF No.
    1 (attached hereto as Exhibit C).
    9
      Id. at ¶ 8.
    10
       Id. at ¶¶ 10-15 (describing White’s involvement in the unauthorized access of Mr. Shapiro’s
    AT&T account and the resulting theft) and ¶¶ 16-19 (describing Jack’s involvement).
    11
       Id. at ¶ 15 (“AT&T confirmed that WHITE was a contract employee from Tucson, Arizona.”)
    and ¶ 16 (“Based on records provided from AT&T, ROBERT JACK, a second AT&T contract
    employee from Tucson, Arizona… .”)

                                        – 11 –
                                      COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 13 of 58 Page ID #:13




    unauthorized access of Mr. Shapiro’s account, 12 and their involvement in the two
    SIM swaps that occurred on May 16, 2018.
            48.     Specifically, criminal investigations reveal that a third-party (an
    individual identified by authorities as “JD”) paid Jack and White to change the
    SIM card associated with Mr. Shapiro’s AT&T account from the SIM card in Mr.
    Shapiro’s phone to a SIM card in a phone controlled by JD and others. 13
            49.     In order to effectuate the swaps, Jack and/or White used their access
    to Mr. Shapiro’s account—access gained through their AT&T employment—to
    view his confidential AT&T account information and effectuate the SIM swaps
    without Mr. Shapiro’s knowledge or consent.
            50.     JD paid White $4,300 in exchange for White using his position,
    knowledge, and authority as an AT&T employee to conduct SIM swaps, including
    the May 16, 2018 SIM swaps of Mr. Shapiro. 14 White then paid Jack $585.25 for
    his involvement in the swaps. 15
            51.     On information and belief, AT&T data shows that White and Jack
    were prolific SIM swappers. White conducted 29 unauthorized SIM swaps in May
    2018, 16 while Jack conducted 12 unauthorized swaps that same month. 17
            52.     Criminal investigations have also identified the AT&T employees’
    third-party co-conspirators and revealed additional information about the
    employees’ involvements in the scheme.
            53.     For example, police officers located documents on the computer of
    one co-conspirator hacker (identified as “CS1”) labeled “ATT Plug.” 18 In the SIM


    12
       Id. at ¶¶ 11, 15-16.
    13
       Id. at ¶¶ 11, 16-19.
    14
       Id. at ¶¶ 11-12.
    15
       Id. at ¶ 19.
    16
       Id. at ¶ 15.
    17
       Id. at ¶ 16.
    18
       Ex. B at p. 7.

                                        – 12 –
                                      COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 14 of 58 Page ID #:14




    swap context, a “plug” is a telecommunication carrier employee who uses their
    knowledge and access to assist in SIM swaps.
           54.     Investigators were also able to obtain a log of a chat conversation held
    online between the third-party co-conspirator hackers, wherein they plotted and
    executed the theft of Mr. Shapiro’s currency. 19
           55.     The chat begins with the group discussing working with an AT&T
    employee to access Mr. Shapiro’s AT&T wireless account and swap his SIM card.
    At 1:19 PM on May 16, 2018, one member of the group asks, “What is plug
    doing[?]” 20 On information and belief, this refers to the group’s AT&T plug:
    White or Jack. The same member requests at 1:31 that another member “message
    [the plug] and tell him hurry up[.]”21
           56.     Beginning at 1:38, a member informs the group that the plug is “doing
    it [right now]” and then: “It’s activated.” 22 On information and belief, this refers to
    Mr. Shapiro’s AT&T account being activated on a phone utilized by the hackers –
    the result of a successful SIM swap effectuated by one or more of the involved
    AT&T employees.
           57.      Once the SIM swap was complete, the group began using their
    control over Mr. Shapiro’s AT&T wireless number to access his personal and
    financial accounts. At 1:58 and 2:10 PM, the chat log shows the group using Mr.
    Shapiro’s number (which they share over the chat) to access and reset the
    passwords for his email accounts. 23
           58.     At 2:18 PM, the chat log shows the group accessing Mr. Shapiro’s
    Bittrex account and withdrawing his digital currency. 24


    19
       Id. at Attachment A.
    20
       Id. at Attachment A, pg. 1.
    21
       Id. at Attachment A, pg. 2.
    22
       Id. at Attachment A, pgs. 2-5.
    23
       Id. at Attachment A, pgs. 5-6
    24
       Id. at Attachment A, pg. 6.
                                          – 13 –
                                        COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 15 of 58 Page ID #:15




           59.    The individuals would not have been able to access these accounts but
    for their utilization of Mr. Shapiro’s cell phone number, control of which was
    obtained through the use of AT&T’s employees and systems.
           60.    Throughout the chat, the group refers to an additional male
    individual—the AT&T plug—helping them access Mr. Shapiro’s account. At 3:11
    PM, one member brags, “my ATT (AT&T) guy… Is a supervisor… He ain’t ever
    getting fired.” 25
           61.    The chat also reflects Mr. Shapiro’s attempt to regain control of his
    AT&T account. At 3:39, one member warns that Mr. Shapiro is “trying to get
    number back.” 26 Another—referring to the AT&T co-conspirator—ask whether he
    wants “[his] guy to swap it back?” 27 At the end of the chat, a group member brags
    that they “made 1.3 [million]” and they begin plotting about how to route the
    stolen cryptocurrency through various accounts and currencies in order to cover
    their trail. 28 They also brag about plans to “buy some Gucci” or a “dream car”
    with the money they stole from Mr. Shapiro. 29
           62.    As these hackers and AT&T employees stole Mr. Shapiro’s life
    savings and made plans to spend it on luxury goods, Mr. Shapiro was still standing
    in the AT&T retail store in Manhattan, NY, asking AT&T for help. He was told to
    wait as his accounts were drained and his personal information compromised.
           63.    After the May 2018 SIM swaps, AT&T employees told Mr. Shapiro
    that his account would be safe from future attacks because they had put a note on
    his account that would prevent any future SIM swaps.




    25
       Id. at Attachment A, pg. 7 (emphasis added).
    26
       Id. at Attachment A. pg. 8.
    27
       Id.
    28
       Id. at Attachment A. pg. 10.
    29
       Id. at Attachment A. pg. 9.

                                         – 14 –
                                       COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 16 of 58 Page ID #:16




           64.    Mr. Shapiro also changed his AT&T account passcodes on the advice
    of AT&T employees. AT&T informs its customers that these account passcodes—
    which are different than account sign-in passwords or the passcodes used to access
    a wireless device—are used to protect their wireless accounts and may be required
    when a customer manages their AT&T account online or in an AT&T store. 30
    AT&T employees represented to Mr. Shapiro that this passcode would not be
    shared with anyone, and would protect his account from future unauthorized SIM
    swaps. Mr. Shapiro decided not to close his AT&T account in reliance on these
    assurances.
           65.    Mr. Shapiro’s trust in AT&T was misplaced. On November 1, 2018,
    Mr. Shapiro again noticed that his cell phone had lost service, and suspected a SIM
    swap. Shortly thereafter, he received an alert that someone had accessed and
    changed the password to—at minimum—his Google email accounts. This also
    caused all information stored in this account—including sensitive and confidential
    personal, financial, and legal information—to be compromised.
           66.    Mr. Shapiro contacted AT&T and confirmed that he had indeed been
    SIM swapped a third time. Again, AT&T employees represented to Mr. Shapiro
    that they had taken steps to prevent any further SIM swaps on his account.
           67.    On May 14, 2019, Mr. Shapiro received a letter from AT&T’s
    Director of Compliance, Nena M. Romano, informing him that “an employee of
    one of [AT&T’s] service providers accessed [Mr. Shapiro’s] Customer Proprietary
    Network Information [CPNI] without authorization.” 31 The letter did not indicate
    which of the three prior SIM swap attacks it concerned. It stated that AT&T had
    “taken appropriate action” regarding the AT&T employee involved and had



    30
       “Get info on passcodes for wireless accounts,” AT&T, available at
    https://www.att.com/esupport/article.html#!/wireless/KM1049472?gsi=tp3wtr.
    31
       Attached hereto as Exhibit D.
                                       – 15 –
                                     COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 17 of 58 Page ID #:17




    “notified federal law enforcement concerning the unauthorized access of your
    CPNI as required by Federal Communications Commission regulations.”
             68.     Despite these assertions, Mr. Shapiro was SIM swapped for a fourth
    time on May 18, 2019, at approximately 10:45 PM. Again, Mr. Shapiro lost AT&T
    service and begun receiving alerts that the passwords for his personal digital
    accounts had been changed.
             69.    Mr. Shapiro immediately contacted AT&T customer service. After
    several long holds and Mr. Shapiro’s repeated requests, his call was elevated to an
    AT&T supervisor. The supervisor, Marcus, 32 informed Mr. Shapiro that he had
    been SIM swapped again but refused to tell Mr. Shapiro who had authorized the
    swap.
             70.    Mr. Shapiro asked the supervisor why the secret passcode that AT&T
    had promised him would protect his account failed to provide that protection. The
    AT&T supervisor refused to provide an answer.
             71.    The supervisor then informed Mr. Shapiro that he would request that
    his AT&T account be transferred back to Mr. Shapiro’s phone. He estimated this
    would take between 2 and 4 hours. Meanwhile—upon information and belief—
    hacker continued to have control over his AT&T wireless account throughout that
    time, and used that control to access his personal and financial accounts.
             72.    Mr. Shapiro repeatedly asked the supervisor to escalate his call to a
    higher authority at AT&T. Eventually, he was transferred to an AT&T manager,
    Tom. The manager informed him that in order to “reverse the unauthorized SIM
    card change,” he would need to “file a ticket” to submit a reversal request—which
    “normally completes within 2 to 4 hours.” He told Mr. Shapiro that he would sever
    the line in the meantime. It took the manager several minutes to “process” the
    ticket requesting a reversal. He then informed Mr. Shapiro that AT&T would send


    32
         The AT&T employees with whom Mr. Shapiro spoke refused to provide their last names.
                                         – 16 –
                                       COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 18 of 58 Page ID #:18




    a pin code to another active line on his AT&T account to validate the reversal
    request. This required Mr. Shapiro to get his 12-year-old daughter out of bed, after
    midnight, to use her phone to receive the pin code. The manager told Mr. Shapiro
    they would “investigate” how his “account got compromised.”
              73.    During this attack, Mr. Shapiro’s Yahoo, Google, Windows, PayPal,
    Coinbase, and Evernote accounts—at minimum—were accessed and their contents
    compromised. The hacker changed the passwords on his Evernote, PayPal,
    Coinbase, and G-mail accounts (temporarily locking Mr. Shapiro out of the
    accounts), changed the recovery email for his G-mail account to an email they
    controlled, and deleted his G-mail security question. This also caused all
    information stored in these accounts—including sensitive and confidential person,
    financial, and legal information—to be compromised.
              74.    On July 19, 2019, Mr. Shapiro received another letter from AT&T’s
    Director of Compliance, Nena M. Romano, informing him that, once again, “an
    employee of one of [AT&T’s] service providers accessed [Mr. Shapiro’s] Customer
    Proprietary Network Information (CPNI) without authorization.” 33 The letter did
    not indicate which of the four SIM swap attacks it concerned. It stated that AT&T
    had “taken appropriate action” regarding the AT&T employee involved and had
    “notified federal law enforcement concerning the unauthorized access of your
    CPNI as required by Federal Communications Commission regulations.”
              75.    On September 6, 2019, Mr. Shapiro received a third letter from Ms.
    Romano, informing him that “an unknown and unauthorized person gained access
    to [Mr. Shapiro’s] Customer Proprietary Network Information (CPNI) without
    authorization.” 34 Once again, the letter did not indicate which of the four SIM swap
    attacks it concerned. It stated that AT&T had “moved quickly to disable system
    access to the unauthorized person” and had “notified federal law enforcement

    33
         Attached hereto as Exhibit E.
    34
         Attached hereto as Exhibit F.
                                           – 17 –
                                         COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 19 of 58 Page ID #:19




    concerning the unauthorized access of your CPNI as required by Federal
    Communications Commission regulations.”
          76.   The SIM swaps have exposed Mr. Shapiro and his family to ongoing
    threats of physical harm and extortion. On February 10, 2019, Mr. Shapiro
    received—on the same AT&T wireless line that had been hacked—text message
    threats from an anonymous individual (set forth below in Figure 1).




                                    – 18 –
                                  COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 20 of 58 Page ID #:20




          77.     This individual knew Mr. Shapiro’s name and AT&T wireless number
    and warned that they had “access to all of [his] sensitive personal information[.]”
    The harasser also threatened an additional SIM swap and informed Mr. Shapiro
    that they still had access to AT&T employees who would aid them in further harm
    against Mr. Shapiro. Specifically, they warned that they had “an AT&T rep ready
    to hand over [Mr. Shapiro’s] account to [them] at any given time[.]” They warned
    that they knew where Mr. Shapiro and his family lived—and sent his exact current
    address (redacted below)—and demanded $800 to prevent harm to Mr. Shapiro and
    his family.
          78.     After Mr. Shapiro received these threats, a sergeant at the Santa Clara
    County Sherriff’s Office informed Mr. Shapiro that he had personally contacted
    AT&T to inform them of the threats and requested that they monitor Mr. Shapiro’s
    accounts. Despite this warning, Mr. Shapiro’s account was authorized without his
    consent, and his SIM card swapped, approximately 3 months later.
          79.     The financial and personal lives of Mr. Shapiro and his family have
    been devastated as a result of AT&T’s failure to safeguard Mr. Shapiro’s account.
          80.     As a result of the May 2018 hacks detailed above, Mr. Shapiro lost
    more than $1.8 million in digital currency. This money constituted the entirety of
    the profits from the sale of Mr. Shapiro’s family home and his life savings. As a
    result of the loss of that money, Mr. Shapiro and his family have not had the
    finances to buy another home, causing feelings of instability and anxiety for the
    whole family.
          81.     The financial strain resulting from the robbery of Mr. Shapiro has
    caused extreme anxiety and distress for Mr. Shapiro and his family.
          82.     Mr. Shapiro’s wife, who previously took full time care for their young
    child, has had to return to work due to the financial strain and pressure. As a



                                     – 19 –
                                   COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 21 of 58 Page ID #:21




    consequence of the SIM swap attacks, she has suffered from anxiety, emotional
    distress, and loss of sleep and has had less time to see to the needs of her children.
          83.    Mr. Shapiro’s two children have also suffered. Mr. Shapiro had to
    undertake the difficult task of explaining the theft to his four-year-old child, who
    now expresses fear of hackers and robbers and feelings of instability. The Shapiros
    also have a medically fragile child, who has suffered emotional distress as a result
    of the financial and emotional strain on the family. Both children require medical
    treatment as a result of the SIM swap attacks, and Mr. Shapiro has had to pay for
    that treatment out of pocket.
          84.    Mr. Shapiro has experienced immense harm as a result of the SIM
    swaps. He has suffered from anxiety, loss of sleep, and extreme depression. The
    emotional and financial consequences have also caused marital stress. Mr. Shapiro
    has had to seek extended professional medical help as a result.
          85.    The digital currency stolen during the SIM swap attacks also included
    cryptocurrency raised by Mr. Shapiro for a business venture. As a result of the
    theft, Mr. Shapiro had to end the venture and lay off all employees. He intends to
    repay each of the investors the amount they invested in the project which was
    stolen during the SIM swap attacks. He also suffered professional reputational
    damages when the venture ended, and investments were lost as a result of the theft.
          86.    Mr. Shapiro and his family’s highly sensitive and confidential
    personal, legal, and business information have also been compromised as a result
    of the SIM swaps. This includes color copies of their passports, their social
    security numbers, their TSA numbers, password and log-in information for
    additional accounts, and confidential financial, business, and legal information.
    All of this information is now at a high risk of being posted or bought and sold on
    the dark web by criminals and identity thieves, putting Mr. Shapiro, his wife, and



                                      – 20 –
                                    COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 22 of 58 Page ID #:22




    two young children at ongoing risk of significant privacy violations, extortion,
    identity theft, and countless unknown harms.
           C.     AT&T’s Repeated Failures to Protect Mr. Shapiro’s Account from
                  Unauthorized Access Are a Violation of Federal Law.

           87.    AT&T is the world’s largest telecommunications company and
    provider of mobile telephone services. As a common carrier, 35 AT&T is governed
    by the Federal Communications Act of 1934, as amended (“FCA”), 36 and
    corresponding regulations passed by the FCC. 37
           88.    Recognizing the sensitivity of data collected by cell carriers,
    Congress, through the FCA, requires AT&T to protect Mr. Shapiro’s sensitive
    personal information to which it has access as a result of its unique position as a
    telecommunications carrier. 38
           89.    Section 222 of the FCA, which became part of the Act in 1996,
    requires AT&T to protect the privacy and security of information about its
    customers. Likewise, Section 201(b) of the Act requires AT&T’s practices related
    to the collection of information from its customers to be “just and reasonable” and
    declares unlawful any practice that is unjust or unreasonable. 39
           90.    AT&T’s most specific obligations to protect its customers concerns a
    specific type of information, called CPNI. 40 Specifically, the FCA “requires
    telecommunications carriers to take specific steps to ensure that CPNI is
    adequately protected from unauthorized disclosure.” 41

    35
       47 U.S. Code § 153(51).
    36
       47 U.S.C. § 151 et seq.
    37
       47 C.F.R. § 64.2001 et seq.
    38
       47 U.S.C. § 222.
    39
       47 U.S.C. § 201(b).
    40
       47 U.S.C. § 222(a).
    41
       Report and Order and Further Notice of Proposed Rulemaking, In the Matter of
    Implementation of the Telecommunications Act of 1996: Telecommunications Carriers’ Use of
    Customer Proprietary Network Information and Other Customer Information, 22 F.C.C. Rcd.
    6927 ¶ 1 (April 2, 2007) (hereafter, “2007 CPNI Order”).

                                       – 21 –
                                     COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 23 of 58 Page ID #:23




           91.    Carriers such as AT&T are liable for failures to protect their customers
    unauthorized disclosures. 42 The FCC has also stated that “[t]o the extent that a
    carrier’s failure to take reasonable precautions renders private customer
    information unprotected or results in disclosure of individually identifiable CPNI, .
    . . a violation of section 222 may have occurred.” 43
           92.    CPNI is defined as “information that relates to the quantity, technical
    configuration, type, destination, location, and amount of use of a
    telecommunications service subscribed to by any customer of a
    telecommunications carrier, and that is made available to the carrier by the
    customer solely by virtue of the carrier-customer relationship; and . . . information
    contained in the bills pertaining to telephone exchange service or telephone toll
    service received by a customer of a carrier.” 44
           93.    As AT&T admitted to Mr. Shapiro in its three letters, 45 his CPNI was
    breached by AT&T employees or “unknown and unauthorized person[s]” when
    they accessed his account and swapped his SIM card without authorization. In
    each letter, AT&T informed Mr. Shapiro that “an employee of one of [its] service
    providers accessed [his] Customer Proprietary Network Information (CPNI)
    without authorization.” 46
           94.    When employees accessed Mr. Shapiro’s account, his CPNI was
    visible. On information and belief, this includes, but was not limited to,
    information about the configuration, type, and use of his subscribed AT&T
    services, his personal information, his SIM card details, and his billing



    42
       47 U.S.C. §§ 206, 207.
    43
       Declaratory Ruling, In the Matter of Implementation of the Telecommunications Act of 1996:
    Telecommunications Carriers’ Use of Customer Proprietary Network Information & Other
    Customer Information, 28 F.C.C. Rcd. 9609 ¶ 30 (2013) (hereafter, “2013 CPNI Order”).
    44
       47 U.S.C. § 222(h)(1).
    45
       See. Exs. D & E.
    46
       Id.
                                        – 22 –
                                      COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 24 of 58 Page ID #:24




    information. AT&T employees then used this information to effectuate an
    unauthorized SIM swap.
           95.    This type of unauthorized use of Mr. Shapiro’s CPNI is illegal under
    the FCA. The FCA forbids AT&T from “us[ing], disclos[ing], or permit[ting]
    access to” CPNI, except in limited circumstances. 47 As AT&T admitted in its May
    2019 letter, this extends to the carrier’s own employees.
           96.    AT&T may only use, disclose, or permit access Mr. Shapiro’s CPNI:
    (1) as required by law; (2) with his approval; or (3) in its provision of the
    telecommunications service from which such information is derived, or services
    necessary to or used in the provision of such telecommunications service. 48
    Beyond such use, “the Commission’s rules require carriers to obtain a customer’s
    knowing consent before using or disclosing CPNI.” 49
           97.    AT&T failed to protect Mr. Shapiro from authorized use of his CPNI.
    AT&T permitted its employees to use and/or disclose Mr. Shapiro’s CPNI without
    obtaining Mr. Shapiro’s knowing consent beforehand. AT&T employees, acting
    within the scope of their employment, likewise did not seek Mr. Shapiro’s knowing
    consent before using, disclosing, and/or permitting access to his CPNI when they
    accessed his account and swapped his SIM card. Because such conduct does not
    fit within the FCA’s recognized legitimate uses, it constitutes a violation of the
    FCA.
           98.    Pursuant to the FCA, the FCC has developed comprehensive rules
    concerning AT&T’s obligations under its duty to protect customers’ CPNI. 50 This


    47
       47 U.S.C. § 222(c)(1).
    48
       47 U.S.C. § 222.
    49
       2007 CPNI Order ¶ 8 (emphasis added).
    50
       See 47 CFR § 64.2001(“The purpose of the rules in this subpart is to implement section 222 of
    the Communications Act of 1934, as amended, 47 U.S.C. 222.”). The FCC also regularly
    releases CPNI orders that promulgate rules implementing its express statutory obligations. See
    2007 CPNI Order and 2013 CPNI Order.

                                         – 23 –
                                       COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 25 of 58 Page ID #:25




    includes rules “designed to ensure that telecommunications carriers establish
    effective safeguards to protect against unauthorized use or disclosure of CPNI.” 51
    The FCC specifically recognizes that “[a]bsent carriers’ adoption of adequate
    security safeguards, consumers’ sensitive information… can be disclosed to third
    parties without consumers’ knowledge or consent.” 52 In a 2013 order, the FCC
    “clarif[ied] existing law so that consumers will know that their carriers must
    safeguard these kinds of information so long as the information is collected by or
    at the direction of the carrier and the carrier or its designee 53 has access to or
    control over the information.” 54
           99.     Pursuant to these rules, AT&T must “implement a system by which
    the status of a customer’s CPNI approval can be clearly established prior to the use
    of CPNI.”55 AT&T is also required to “design their customer service records in
    such a way that the status of a customer’s CPNI approval can be clearly
    established.” 56 The FCC’s rules also “require carriers to maintain records that
    track access to customer CPNI records.”57
           100. Upon information and belief, AT&T has failed to implement such a
    system. The fact that Mr. Shapiro’s account was accessed without his
    authorization on at least four separate occasions demonstrates AT&T’s failures in
    this regard.
           101. AT&T’s failures are particularly egregious because Mr. Shapiro
    contacted AT&T following each SIM swap attack and provided specific
    instructions that employees were not to access his CPNI without his express, prior


    51
       2007 CPNI Order ¶ 9; see also Id. at ¶ 35; 47 U.S.C. § 222(c); 47 C.F.R. § 64.2009.
    52
       Id.
    53
       In the ruling, “designee” is defined as “an entity to which the carrier has transmitted, or
    directed the transmission of, CPNI or is the carrier’s agent.” Id. n. 1.
    54
       Id. at ¶ 1 (emphasis added).
    55
       2007 CPNI Order ¶¶ 8-9 (emphasis added); see also 47 C.F.R. § 64.2009(a).
    56
       Id. ¶ 9.
    57
       Id.
                                           – 24 –
                                         COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 26 of 58 Page ID #:26




    approval, as established through the use of passcodes. Mr. Shapiro was told that
    specific warnings would be placed on his account to this affect. These instructions
    and warnings were ineffective, as shown by the repeated breaches of Mr. Shapiro’s
    account.
           102. AT&T is also required to “train their personnel as to when they are
    and are not authorized to use CPNI, and carriers must have an express disciplinary
    process in place.” 58
           103. Upon information and belief, AT&T has failed to properly train and
    supervise their personnel, as reflected by AT&T personnel’s involvement in Mr.
    Shapiro’s breaches.
           104.    Carriers must “maintain a record of all instances where CPNI was
    disclosed or provided to third parties, or where third parties were allowed access to
    CPNI.” 59
           105. Upon information and belief, AT&T has failed to maintain such a
    record, as demonstrated by its repeated failure to protect Mr. Shapiro after his
    CPNI was provided to third-parties.
           106. AT&T has also breached its duty to safeguard Mr. Shapiro’s CPNI
    from data breaches, in violation of Section 222(a) and Section 201(b) of the FCA.
           107. The FCC has “[made] clear that carriers’ existing statutory obligations
    to protect their customers’ CPNI include[s] a requirement that carriers take
    reasonable steps, which may include encryption, to protect their CPNI databases
    from hackers and other unauthorized attempts by third parties to access CPNI.” 60
           108. AT&T failed to take reasonable steps to protect Mr. Shapiro’s CPNI,
    thereby allowing third-party hackers to access his CPNI on at least four occasions.



    58
       47 C.F.R. § 64.2009(b).
    59
       Id.; see also 47 C.F.R. § 64.2009(c).
    60
       2007 CPNI Order ¶ 36 (citation omitted).
                                        – 25 –
                                      COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 27 of 58 Page ID #:27




           109. The FCC also requires that carriers inform customers – and law
    enforcement – “whenever a security breach results in that customer’s CPNI being
    disclosed to a third party without that customer’s authorization.” 61 This
    requirement extends to any unauthorized disclosure.
           110. In adopting this requirement, the FCC rejected the argument that it
    “need not impose new rules about notice to customers of unauthorized disclosure
    because competitive market conditions will protect CPNI from unauthorized
    disclosure.” 62
           111. Instead, the FCC found that “[i]f customers and law enforcement
    agencies are unaware of [unauthorized access], unauthorized releases of CPNI will
    have little impact on carriers’ behavior, and thus provide little incentive for carriers
    to prevent further unauthorized releases. By mandating the notification process
    adopted here, we better empower consumers to make informed decisions about
    service providers and assist law enforcement with its investigations. This notice
    will also empower carriers and consumers to take whatever ‘next steps’ are
    appropriate in light of the customer’s particular situation.” 63 The FCC specifically
    recognized that this notice could allow consumers to take precautions or protect
    themselves “to avoid stalking or domestic violence.” 64
           112. AT&T failed in its duty to safeguard Mr. Shapiro’s CPNI from
    breaches and, upon information and belief, has failed to properly inform him of
    such breaches when they occurred. Mr. Shapiro only received any documentation
    alerting him that his CPNI had been breached after the third hack; he received no
    such notice following the first two SIM swap attacks. Additionally, he only
    received documentation for three out of four total attacks.

    61
       2007 CPNI Order at ¶ 26; see also 47 C.F.R § 64.2011(c).
    62
       2007 CPNI Order ¶ 30.
    63
       Id.
    64
       Id. at n. 100.

                                        – 26 –
                                      COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 28 of 58 Page ID #:28




           113. Under the FCA, AT&T is not just liable for its own violations of the
    Act, but also for violations that it “cause[s] or permit[s].”65 By failing to secure
    Mr. Shapiro’s account and protect his CPNI, AT&T caused and/or permitted Mr.
    Shapiro’s CPNI to be accessed and used by its own employees and by third-party
    hackers.
           114. AT&T is also responsible for the acts, omissions, and/or failures of
    officers, agents, employees, or any other person acting for or employed by AT&T,
    including employees Jack and White.
           D.      Mr. Shapiro’s Harm was Caused by AT&T’s Negligence.
           115. By failing to secure Mr. Shapiro’s account—and protect the
    confidential and sensitive data contained therein—and to properly hire, train, and
    supervise their employees, AT&T is responsible for the foreseeable harm Mr.
    Shapiro suffered as a result of AT&T’s negligence.
           116. Further, AT&T is responsible for its employees’ participation in the
    conspiracy to rob Mr. Shapiro, as such actions were within the scope of their
    employment with AT&T. On information and belief, AT&T employees were
    tasked with and able to change customers’ SIM cards.
           117. Additionally, AT&T employees’ breach of Mr. Shapiro’s account and
    the subsequent SIM swaps were foreseeable. AT&T knew or should have known
    that Mr. Shapiro’s account was at risk, but nonetheless failed to secure his account
    and failed to properly supervise and train its employees.
           118. AT&T has known for more than a decade that third parties frequently
    attempt to access wireless customers’ accounts for fraudulent purposes. In 2007,


    65
      See 47 U.S.C.A. § 206 (establishing that “[i]n case any common carrier shall do, or cause or
    permit to be done, any act, matter, or thing in this chapter prohibited or declared to be unlawful,
    or shall omit to do any act, matter, or thing in this chapter required to be done such common
    carrier shall be liable to the person or persons injured thereby for the full amount of damages
    sustained in consequence of any such violation of the provisions of this chapter[.]”)

                                          – 27 –
                                        COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 29 of 58 Page ID #:29




    the FCC issued an order strengthening its CPNI rules in response to the growing
    practice of “pretexting.” 66 Pretexting is “the practice of pretending to be a
    particular customer or other authorized person in order to obtain access to that
    customer’s call detail or other private communication records.” 67 This 2007 Order
    put AT&T on notice that its customers’ accounts were vulnerable targets of the
    third-parties seeking unauthorized access.
           119. AT&T also knew, or should have known, about the risk SIM swap
    crimes presented to its customers. SIM swap crimes have been a widespread and
    growing problem for years. The U.S. Fair Trade Commission (“FTC”) reported in
    2016 that there were 1,038 reported SIM swap attacks per month in January 2013,
    which increased sharply to 2,658 per month by January 2016—2.5 times as
    many. 68 The FTC reported that SIM swaps represented 6.3% of all identity thefts
    reported to the agency in January 2016, and that such thefts “involved all four of
    the major mobile carriers” – including AT&T. 69
           120. AT&T knew or should have known that it needed to take steps to
    protect its customers. The FTC’s 2017 Report stated that “mobile carriers are in a
    better position than their customers to prevent identity theft through mobile
    account hijacking[.]”70 The FTC urged carriers such as AT&T to “adopt a multi-
    level approach to authenticating both existing and new customers and require their
    own employees as well as third-party retailers to use it for all transactions.”71 The
    FTC also specifically warned carriers, including AT&T, of the risk that, due to text


    66
       2007 CPNI Order.
    67
       Id. at ¶ 1.
    68
       Lori Cranor, FTC Chief Technologist, “Your mobile phone account could be hijacked by an
    identity thief,” Federal Trade Commission (June 7, 2016), available at
    https://www.ftc.gov/news-events/blogs/techftc/2016/06/your-mobile-phone-account-could-be-
    hijacked-identity-thief (hereafter, “2017 FTC Report”).
    69
       Id.
    70
       Id. (emphasis added).
    71
       Id.
                                       – 28 –
                                     COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 30 of 58 Page ID #:30




    message password reset requests and two-factor authentication, SIM swapping put
    subscribers at risk of financial loss and privacy violations:
                 Having a mobile phone account hijacked can waste hours of a
                 victim’s time and cause them to miss important calls and
                 messages. However, this crime is particularly problematic due
                 to the growing use of text messages to mobile phones as part of
                 authentication schemes for financial services and other
                 accounts. The security of two-factor authentication schemes
                 that use phones as one of the factors relies on the assumption
                 that someone who steals your password has not also stolen your
                 phone number. Thus, mobile carriers and third-party retailers
                 need to be vigilant in their authentication practices to avoid
                 putting their customers at risk of major financial loss and
                 having email, social network, and other accounts
                 compromised. 72

          121. AT&T admitted it was aware of SIM swap crimes and the effect they
    could have on its customers in September 2017 when AT&T’s Vice President of
    Security Platforms published an article on AT&T’s “Cyber Aware” blog about SIM
    swaps. 73 In the article, AT&T acknowledged that subscribers with “valuable
    accounts that are accessible online” are likely targets of SIM swaps. AT&T
    recommended that its customers set up passcodes that would provide “extra
    security.” These passcodes repeatedly failed to protect Mr. Shapiro.
          122. AT&T therefore knew that its customers’ accounts were at risk at least
    8 months before any breaches of Mr. Shapiro’s account. At the time of his first
    attack in May 2016, Mr. Shapiro informed AT&T—both on the phone and in
    person—that he had valuable online accounts, thereby making him the type of
    individual that AT&T recognized was specifically vulnerable to SIM swap attacks.
    Nonetheless, AT&T failed to take reasonable steps to protect his account.



    72
      Id. (emphasis added).
    73
      Brian Rexroad, “Secure Your Number to Reduce SIM Swap Scams,” AT&T’s Cyber Aware
    (Sep. 2017), available at https://about.att.com/pages/cyberaware/ni/blog/sim_swap.
                                     – 29 –
                                   COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 31 of 58 Page ID #:31




          123. AT&T’s inadequate security procedures are particularly egregious in
    light of AT&T’s repeated public statements about the importance of cyber security
    and its public representations about its expertise in this area. AT&T has an entire
    series on its public YouTube channel (“AT&T ThreatTraq”) dedicated to discussing
    and analyzing emerging cybersecurity threats. 74 In its videos, AT&T describes
    itself as a “network that senses and mitigates cyber threats.” 75
          124. AT&T recognizes the risks that arise when a cell phone is
    compromised, stating, “Our phones are mini-computers, and with so much
    personal data on our phones today, it’s also important to secure our mobile
    devices.” 76 AT&T’s advertisements also stress how central a role cell phones play
    in its customer’s lives, stating: “My phone is my life” and “My phone is
    everything.” The same ad stresses how the inability to use a cell phone makes
    people feel “completely untethered, flailing around.” 77
          125.    AT&T markets its ability to identify to and neutralize emerging cyber
    threats for its customers. In one video, AT&T employees discuss “threat hunting”
    which they describe as “an active threat analysis where you’re actually thinking
    about your adversary.” 78 They claim that it’s “important” and “something [AT&T
    has] been doing for a long time.” 79 They advise that companies should think about
    “what would a hacker want to do, where would a hacker go to get my data, what
    are some of the points on my network that are most vulnerable, or where is the data

    74
       “AT&T Tech Channel,” YouTube, available at
    https://www.youtube.com/user/ATTTechChannel.
    75
       “AT&T – Protect Your Network with the Power of &,” VIMEO, available at
    https://vimeo.com/172399153.
    76
       AT&T, “Mobile Security,” YOUTUBE (Feb. 12, 2019), available at
    https://www.youtube.com/watch?v=KSPHS89VnX0.
    77
       “AT&T Mobile Movement Campaign – Ads,” VIMEO, available at
    https://vimeo.com/224936108.
    78
       AT&T Tech Channel, “The Huntin’ and Phishin’ Episode,” YOUTUBE (Apr. 21, 2017),
    available at https://www.youtube.com/watch?v=3g9cPCiFosk.
    79
       Id.

                                      – 30 –
                                    COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 32 of 58 Page ID #:32




    flow that is potentially going to be a leakage” and state that “having threat hunting
    as part of a proactive continuous program, integrating with existing security
    measures, will help [you] stay ahead of the threats.” 80
           126. Not only did AT&T advise staying ahead of and addressing cyber
    threats, it also stressed that these practices could even help identify “insider
    threats”—employees within the company.
           127. In an additional video focused on insider threats, AT&T employees go
    on at length about the threat of company insiders selling corporate information and
    access, citing a survey showing that “30% [of respondents] had purposefully sent
    data outside of their organization at some point in time” and “14% of the people
    that were interviewed said they would actually sell their corporate log-ins to folks
    on the outside or sell that data for less than about $250 US.”81 They cited as a
    “significant concern” the “individuals that have privileged access, that have broad
    access inside an organization.” 82 AT&T therefore knew or should have known that
    there was a significant risk that its own employees would sell AT&T data—
    including customer account data—and that the risk was heightened when
    employees had too broad of an access to corporate systems, yet AT&T failed to put
    sufficient systems and resources in place to mitigate that risk, despite its own
    advice to the contrary.
           128. AT&T has also recognized the danger presented to its customers when
    their email addresses are hacked, as Mr. Shapiro’s was on multiple occasions as a
    result of AT&T’s failures. As one AT&T employee puts it: “I think most people do
    have something valuable [in their email accounts], which is access to all their other



    80
       Id.
    81
       AT&T ThreatTraq, “The Real Threat of Insider Threats,” YouTube (May 5, 2017), available
    at https://www.youtube.com/watch?v=ZM5tuNiVsjs (emphasis added).
    82
       Id.

                                       – 31 –
                                     COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 33 of 58 Page ID #:33




    accounts, which you can get with a password reset.” 83 They call this “something
    worth keeping safe.” 84 They advised that a “strong, obviously, security awareness
    program within a company… is extremely important.” 85
           129. In this video series, AT&T makes specific mentions of SIM swapping
    activity. In one video, AT&T’s Vice President of Security Platforms (Brian




    Rexroad) and Principal of Technology Security (Matt Keyser) discuss the hack of a
    forum called OGusers.     86
                                   In the segment, they discuss the hacking of social media
    users’ account names and point to a news story that highlights—in distinct orange
    type—that OGusers is a forum popular among people “conducting SIM swapping
    attacks to seize control over victims’ phone numbers.” 87
                                              Figure 2
    83
       Id.
    84
       Id.
    85
       Id.
    86
       AT&T ThreatTraq, “5/31/19 Account-hacking Forum OGusers Hacked,” YOUTUBE (May 31
    2019), available at https://www.youtube.com/watch?time_continue=234&v=cS4xV3cej3A.
    87
       Id.; see also Freeman Indictment at ¶ 2 (Describing how “discussions—such as discussing the
    manner and means to [SIM swap] attacks generally, and networking among [SIM swap
    hackers]—typically took place on forums such as “OGusers.”).
                                         – 32 –
                                       COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 34 of 58 Page ID #:34




          130. AT&T was therefore well aware of the significant risk that AT&T
    employees and SIM swapping presented to its customers, and the need to mitigate
    such risks, but nonetheless failed to take adequate steps to protect Mr. Shapiro.
    Instead, it continued to make public statements giving rise to a reasonable
    expectation that AT&T could—and would—protect its customers.
          131. Additionally, Mr. Shapiro’s hack was foreseeable because at least two
    of the AT&T employees involved—Jack and White—were involved in a
    suspiciously high number of unauthorized SIM swaps the very same month of Mr.
    Shapiro’s first and second hacks. White conducted 29 unauthorized SIM swaps in
    May 2018, while Jack conducted 12 unauthorized swaps that same month. This
    suspicious activity should have raised alarms at AT&T, but the company
    nonetheless failed to protect Mr. Shapiro from these employees.
          132. The risk to Mr. Shapiro’s account, specifically, was particularly
    foreseeable after the very first breach on May 16, 2018. Despite confirming that a
    breach had occurred, AT&T employees refused to help Mr. Shapiro when his
    account was again breached and his SIM card swapped just a few minutes after he
    restored control over his account on May 16. Instead, AT&T did nothing while its
    employees aided hackers in their more than $1.8 million theft from Mr. Shapiro.
          133. Even after two documented account breaches and unauthorized SIM
    swaps in May, AT&T failed to protect Mr. Shapiro’s account on two additional
    occasions in November 2018 and May 2019.
          134. That Mr. Shapiro was at risk of account breaches at the hands of
    AT&T employees is particularly foreseeable—and AT&T’s failures are particularly
    stark—in light of AT&T’s history of unauthorized employee access to customer
    accounts.
          135. In 2015, AT&T faced an FCC enforcement action, and paid a $25
    million civil penalty, for nearly identical failures to protect its customers’ sensitive

                                      – 33 –
                                    COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 35 of 58 Page ID #:35




    account data. 88 In that case, as AT&T admitted, employees at an AT&T call center
    breached 280,000 customers’ accounts. 89 Specifically, AT&T employees had
    improperly used login credentials to access customer accounts and access customer
    information that could be used to unlock the customers’ devices. 90 The employees
    then sold the information they obtained from the breaches to a third party. 91
           136. The FCC concluded that AT&T’s “failure to reasonably secure
    customers’ proprietary information violates a carrier’s statutory duty under the
    Communications Act to protect that information, and also constitutes an unjust and
    unreasonable practice in violation of the Act.” 92
           137. The FCC stressed that the FCA is intended to “ensure that consumers
    can trust that carriers have taken appropriate steps to ensure that unauthorized
    persons are not accessing, viewing or misusing their personal information.”93 It
    stressed its expectation that “telecommunications carriers such as AT&T… take
    ‘every reasonable precaution’ to protect their customers’ data[.]”94
           138. As part of its penalty, AT&T entered into a stipulated Consent Decree
    with the FCC, in which AT&T agreed to develop and implement a compliance plan
    to ensure appropriate safeguards to protect consumers against similar breaches by
    improving its privacy and data security practices. 95
           139. This FCC enforcement action underscores AT&T’s knowledge of the
    risk its employees presented to customers, the prevalence of employee breaches to
    customer data, the sensitive nature of customer CPNI, and its duties to protect and
    safeguard that data.


    88
       In the Matter of AT&T Servs., Inc., 30 F.C.C. Rcd. 2808 (2015).
    89
       Id. at ¶ 1.
    90
       Id. at ¶¶ 7, 11.
    91
       Id. at ¶ 1.
    92
       Id. at ¶ 2.
    93
       Id.
    94
       Id.
    95
       Id. at ¶¶ 2, 17-18, 21.
                                         – 34 –
                                       COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 36 of 58 Page ID #:36




          140. Nonetheless, more than 3 years after stipulating to the Consent
    Decree, AT&T still failed to protect its customer from employee breaches of
    customer CPNI and other account data, virtually identical to the breaches at issue
    here, heightening the degree of its negligence.
          141. Mr. Shapiro, unlike AT&T, was not in a position to adequately protect
    himself from the harms arising from the SIM swap attacks. AT&T, Mr. Shapiro’s
    wireless provider, was responsible for safeguarding his account and its
    involvement was required for any change in SIM to be effective. Because SIM
    change requests were all routed through AT&T, and not through Mr. Shapiro
    directly, AT&T alone was positioned to prevent unauthorized SIM changes. It is
    unreasonable to expect Mr. Shapiro to be able to fully protect his account when
    AT&T, the responsible entity, failed to do so.
          142. Additionally, Mr. Shapiro took all of the steps that AT&T advised he
    take in order to protect his account—including changing his account passcode—
    and was repeatedly told by AT&T that such steps would protect his account from
    further breaches and SIM swaps. Mr. Shapiro reasonably relied on these
    representations.
                 i. AT&T is Liable for the Acts of its Employees.
          143. AT&T is liable for the acts of its employees, including Jack and
    White, who facilitated the unauthorized access to, and resulting theft from, Mr.
    Shapiro.
          144. AT&T failed to put in place adequate systems and procedures to
    prevent the unauthorized employee access to and sale of Mr. Shapiro’s account and
    related data. AT&T failed to properly hire and supervise its employees, allowing
    them to access Mr. Shapiro’s sensitive and confidential account data, and sell
    access to his account and that data to third parties.



                                      – 35 –
                                    COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 37 of 58 Page ID #:37




             145. In the context of AT&T’s enterprise as a telecommunications carrier,
    an employee accessing a customer’s account information and effectuating a SIM
    swap—even without authorization—is not so unusual or startling that it would not
    be unfair to include the loss resulting from such unauthorized access among other
    costs of AT&T’s business – particularly in light of AT&T’s awareness of the risk of
    SIM swaps to its customers.
             146. Further, imposing liability on AT&T may prevent recurrence of SIM
    swap behavior because it creates a strong incentive for vigilance and proper
    safeguarding of customers’ data by AT&T—which is the sole party in the position
    to guard substantially against this activity, as it is the custodian and guardian of this
    data.
             147. As a customer of AT&T, Mr. Shapiro is entitled to rely upon the
    presumption that AT&T and the agents entrusted with the performance of AT&T’s
    business have faithfully and honestly discharged the duty owed to him by AT&T,
    and that they would not knowingly gain unauthorized access to his account in order
    to aid in perpetuating a theft from him.
             148. The reasonableness of Mr. Shapiro’s expectations that AT&T would
    safeguard his data is confirmed by the fact that the federal agency responsible for
    overseeing AT&T’s duties to its customers, the FCC, has stated that it “fully
    expect[s] carriers to take every reasonable precaution to protect the confidentiality
    of proprietary or personal customer information.” 96
             C.     AT&T’s Misrepresentations and Omissions.
             149.    AT&T’s Privacy Policy, and the “Privacy Commitments” included
    therein, falsely represents and fails to disclose material information about its data
    security practices.



    96
         2007 CPNI Order ¶ 64.
                                      – 36 –
                                    COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 38 of 58 Page ID #:38




              150. In its Privacy Policy, AT&T promised to protect Mr. Shapiro’s privacy
    and personal information, including by using “security safeguards.” AT&T further
    pledges that it will not sell customer data.
              151. These representations created an expectation that Mr. Shapiro’s AT&T
    account and associated data would be safe and secure, that employees would not
    access his account without authorization or sell access to his account, that his data
    would be protected from unauthorized disclosure, and that he could control how
    and when his data was accessed. Figure 3, immediately below, is an excerpt from
    AT&T’s Privacy Policy.




                                               Figure 3 97
              152. AT&T’s representation that it “uses encryption and other security
    safeguards to protect customer data” is false and misleading.
              153. As alleged fully above, AT&T allowed its employees to access Mr.
    Shapiro’s account, and the CPNI and other sensitive data contained therein,
    97
         “Privacy Policy,” AT&T, attached hereto as Exhibit G.
                                          – 37 –
                                        COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 39 of 58 Page ID #:39




    without his authorization. AT&T’s statement that it would use encryption and
    other security safeguards to protect customers’ data is therefore a material
    misrepresentation.
           154. Upon information and belief, AT&T’s security safeguards were
    inadequate, including its system which—upon information and belief—allowed an
    individual employee to conduct SIM swaps without adequate oversight, even when
    that employee conducted a large number of unauthorized SIM swaps in a short
    period of time (as demonstrated in the cases of White and Jack).
           155. “Having one employee who can conduct these SIM swaps without any
    kind of oversight seems to be the real problem,” says Lieutenant John Rose, a
    member of the California-based Regional Enforcement Allied Computer Team
    (“REACT”), a multi-jurisdictional law enforcement partnership specializing in
    cybercrime. 98 “And it seems like [the carriers] could really put a stop to it if there
    were more checks and balances to prevent that. It’s still very, very easy to SIM
    swap, and something has to be done because it’s just too simple. Someone needs to
    light a fire under some folks to get these protections put in place.” 99
           156. AT&T failed to put in place adequate systems and procedures to
    prevent the unauthorized employee access to and sale of Mr. Shapiro’s account and
    related data. In connection with subsequent criminal investigations into Mr.
    Shapiro’s SIM swaps, AT&T informed law enforcement that it had the capacity to
    see how many different SIM cards had been associated with the same single cell
    phone’s IMEI. In other words, AT&T could see when one cell phone had multiple
    SIM cards associated with it in a short amount of time. 100

    98
       “Busting SIM Swappers and SIM Swap Myths,” KREBSONSECURITY (Nov. 18, 2018),
    available at https://krebsonsecurity.com/2018/11/busting-sim-swappers-and-sim-swap-myths.
    99
       A REACT investigative report, (attached hereto as Exhibit I), describes how certain SIM swap
    attacks occurred, and includes statements from victims, including Mr. Shapiro, at p. 11-12.
    100
        See Probation Report, California v. Joel Ortiz, No. C-189481 (CA Sup. Ct. March 14, 2019)
    at p. 7 (attached hereto as Exhibit H.)

                                        – 38 –
                                      COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 40 of 58 Page ID #:40




           157. AT&T also informed law enforcement that the hacker involved in Mr.
    Shapiro’s SIM swap had requested that 40 different AT&T wireless accounts be
    moved onto his phone (identified by its IMEI number) in the months leading up to
    Mr. Shapiro’s swap. 101 AT&T therefore had the technology to track how many
    different accounts were being much on to the same telephone, as demonstrated by
    its ability to pull this information for law enforcement. Despite its ability to track
    this highly suspicious behavior, AT&T failed to use this technology to protect Mr.
    Shapiro’s account. If AT&T had proper security safeguards in place, it would have
    recognized this behavior, flagged it as suspicious, and prevented any further SIM
    swaps onto that phone – thereby protecting Mr. Shapiro.
           158. AT&T provided information to law enforcement about how AT&T
    SIM swap victims’ AT&T accounts were used while under the control of hackers.
    This information clearly showed that hackers were using the AT&T wireless
    accounts to attempt to access other personal accounts. AT&T informed law
    enforcement that, “During the time the [hacker] controlled several of the [SIM
    swap] victims’ cell telephones, all telephones received multiple text messages
    while no text messages were sent.” 102 This was suspicious because it indicated that
    hackers were receiving password-reset or two-factor authentication text messages
    in an attempt to access victims’ other online accounts, rather than using the AT&T
    accounts for normal, legitimate purposes. As described by law enforcement:
                  Based on the volume of text messages the [hacker]
                  received, the short time he controlled the [AT&T user]
                  victims’ accounts, as well as the majority of text
                  messages originating from short code numbers, 103 [law
                  enforcement] officers deduced [that] once [the hacker’
                  gained control of a victim’s cell phone account, the

    101
        Id. at 7.
    102
        Id.
    103
        As described by law enforcement, a “short code number” is “a phone number used strictly to
    send text message and cannot receive voice calls.” Short code numbers are used by businesses to
    send users password-reset links or passcodes.
                                        – 39 –
                                      COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 41 of 58 Page ID #:41




                        [hacker] attempted to log into their other accounts.
                        Police believed the defendant was able to do this either
                        by receiving a 2FA [two-factor authentication] text
                        message from individual websites sent via text message
                        to the AT&T account controlled by the [hacker], or the
                        specific website text a code allowing the [hacker] to
                        reset the passwords on-line. 104

              159. Therefore, AT&T had the capability to see this behavior, and should
    have flagged it as suspicious. If AT&T had proper security safeguards in place, it
    would have recognized this behavior, flagged it as suspicious, and prevented any
    further SIM swaps onto that phone – thereby protecting Mr. Shapiro.
              160. Additionally, as alleged fully above, AT&T failed to establish a
    consent mechanism that verified proper authorization before Mr. Shapiro’s data
    was accessed and provided to third parties. AT&T’s statement that it would use
    encryption and other security safeguards to protect customers’ data is therefore a
    material misrepresentation.
              161. AT&T’s representation that it “will protect [customers’] privacy and
    keep [their] personal information safe” is false and misleading.
              162. As alleged fully above, AT&T failed to establish a consent
    mechanism that verified proper authorization before Mr. Shapiro’s account and the
    data therein was used without his authorization or consent, and disclosed to third
    parties. Mr. Shapiro’s privacy and personal information was not safe, as
    demonstrated by the repeated breaches of his AT&T account. AT&T’s statement
    that it would protect customers’ privacy and keep their personal information safe is
    therefore a material misrepresentation.
              163. AT&T’s representation that it “will not sell [customers’] personal
    information to anyone, for any purpose. Period” is false and misleading.



    104
          Ex. H at 9.
                                           – 40 –
                                         COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 42 of 58 Page ID #:42




           164. As alleged fully above, AT&T employees sold access to Mr. Shapiro’s
    AT&T account to third parties. AT&T’s statement that it would not sell customers’
    personal information is therefore a material misrepresentation.
           165. AT&T also makes numerous false or misleading representations
    concerning its treatment of customers’ data that qualifies as CPNI under the FCA.
           166. AT&T explicitly and falsely represents in its Privacy Policy that it
    does not “sell, trade or share” their CPNI:
                   We do not sell, trade or share your CPNI with anyone
                   outside of the AT&T family of companies* or our
                   authorized agents, unless required by law (example: a
                   court order). 105

           167. As alleged fully above, AT&T provided access to Mr. Shapiro’s CPNI
    to third-party hackers. This use was not required by law and was instead
    prohibited by law.
           168. AT&T also states that it only uses CPNI “internally” and its only
    disclosed use of CPNI is “among the AT&T companies and our agents in order to
    offer you new or enhanced services.” 106
           169. AT&T employees’ sale of access to Mr. Shapiro’s account and related
    data as described herein was not for “internal” AT&T purposes, nor was it used to
    market AT&T services. AT&T’s statements regarding the sale and/or use of
    customer CPNI are therefore material misrepresentations. Its failure to disclose
    this sale of access to CPNI is a material omission.




    105
        “Customer Proprietary Network Information (CPNI),” Ex. G at p. 31-32. The “AT&T family
    of companies” is defined “those companies that provide voice, video and broadband-related
    products and/or services domestically and internationally, including the AT&T local and long
    distance companies, AT&T Corp., AT&T Mobility, DIRECTV, and other subsidiaries or
    affiliates of AT&T Inc. that provide, design, market, or sell these products and/or services.” Id.
    106
        Id.
                                         – 41 –
                                       COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 43 of 58 Page ID #:43




           170. AT&T also falsely represents that it “uses technology and security
    features, and strict policy guidelines with ourselves and our agents, to safeguard
    the privacy of CPNI.”
           171. As alleged fully above, AT&T and its agents failed to safeguard Mr.
    Shapiro’s CPNI. Instead, it stored customer CPNI in such a way that unauthorized
    access was easily obtained by employees and third parties. AT&T’s statements
    regarding the technology and security features it uses to safeguard customer CPNI
    are therefore material misrepresentations.
           172. After each breach of his account and unauthorized SIM swap, AT&T
    repeatedly, and falsely, represented to Mr. Shapiro that his account was safe from
    future breaches. In reliance upon these statements, Mr. Shapiro maintained his
    AT&T account. AT&T also repeatedly told Mr. Shapiro that the notations made on
    his account and the passcode needed to change his SIM card would protect him
    from future breaches and SIM swaps. These misrepresentations were false and
    materially misleading, as demonstrated by the ongoing breaches to Mr. Shapiro’s
    account.
           173. AT&T was obligated to disclose the weaknesses and failures of its
    account and data security practices, as AT&T had exclusive knowledge of material
    facts not known or knowable to its customers, AT&T actively concealed these
    material facts from Mr. Shapiro, and such disclosures were necessary to materially
    qualify its representations that it did not sell and took measures to protect
    consumer data and to materially qualify its partial disclosures concerning its use of
    customers’ CPNI. Further, AT&T was obligated to disclose its practices under the
    FCA.
           174. A reasonable person would be deceived and misled by AT&T’s
    misrepresentations, which clearly indicated that AT&T would not sell, and would
    in fact safeguard, its customers’ personal information and CPNI.

                                     – 42 –
                                   COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 44 of 58 Page ID #:44




            175. AT&T intentionally misled Mr. Shapiro regarding its data security
    practices in order to maintain his business and evade prosecution for its unlawful
    acts.
            176. AT&T’s representations that it protected customers’ personal
    information, when in fact it did not, were false, deceptive, and misleading and
    therefore a violation of the FCA.
     VI. CLAIMS FOR RELIEF
                                     COUNT I
        Violations of The Federal Communications Act, 47 U.S.C. § 201 et seq.
            177. Plaintiff Mr. Shapiro realleges and incorporates all of the preceding
    paragraphs as though fully set forth in this cause of action.
            178. AT&T has violated 47 U.S.C. § 222(a) by failing to protect the
    confidentiality of Mr. Shapiro’s CPNI, as detailed herein.
            179. AT&T has violated 47 U.S.C. § 222(c) by using, disclosing, and/or
    permitting access to Mr. Shapiro’s CPNI without the notice, consent, and/or legal
    authorization required under the FCA, as detailed herein. AT&T also caused
    and/or permitted third parties to use, disclose, and/or permit access to Mr.
    Shapiro’s CPNI without the notice, consent, and/or legal authorization required
    under the FCA, as detailed herein.
            180. As fully alleged above, Mr. Shapiro has suffered injury to his person,
    property, health, and reputation as a consequence of AT&T’s violations of the
    FCA. Additionally, Mr. Shapiro has suffered emotional damages, including severe
    anxiety and depression, mental anguish, and suffering as a result of AT&T’s acts
    and practices.
            181. Mr. Shapiro seeks the full amount of damages sustained as a
    consequence of AT&T’s violations of the FCA, together with reasonable attorneys’
    fees, to be fixed by the Court and taxed and collected as part of the costs of the
    case. Mr. Shapiro also moves for a writ of injunction or other proper process,

                                      – 43 –
                                    COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 45 of 58 Page ID #:45




    mandatory or otherwise, to restrain Defendant AT&T and its officers, agents, or
    representatives from further disobedience of the 2007 and 2013 CPNI Orders, or to
    compel their obedience to the same.




                                      COUNT II
       Violations of The California Unfair Competition Law (“UCL”) under the
                       Unlawful, Unfair and Fraudulent Prongs,
                California Business & Professional Code § 17200 et seq.
          182. Plaintiff Mr. Shapiro realleges and incorporates all of the preceding
    paragraphs as though fully set forth in this cause of action.
          183. California’s Unfair Competition Law (UCL) prohibits any “unlawful,
    unfair or fraudulent business act or practice.” AT&T’s business acts and practices
    complained of herein were unlawful, unfair, and fraudulent.
          184. AT&T made material misrepresentations and omissions concerning its
    sale of access to and safeguarding of Mr. Shapiro’s CPNI. As alleged fully above,
    a reasonable person would attach importance to the privacy of his sensitive account
    data in determining whether to contract with a wireless cell phone provider.
          185. AT&T had a duty to disclose the nature of its inadequate security
    practices and failures in hiring, training, and supervising staff. AT&T had
    exclusive knowledge of material facts not known or knowable to its customers and
    AT&T actively concealed these material facts from its customers.
          186. Further, additional disclosures were necessary to materially qualify
    AT&T’s representations that it did not sell consumer data and took measures to
    protect that data, and its partial disclosures concerning its use of customers’ CPNI.
    AT&T was obligated to disclose its practices, as required by the FCA. The



                                     – 44 –
                                   COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 46 of 58 Page ID #:46




    magnitude of the harm suffered by Mr. Shapiro underscores the materiality of
    AT&T’s omissions.
          187. A reasonable person, such as Mr. Shapiro, would be deceived and
    misled by AT&T’s misrepresentations, which indicated that AT&T would not sell,
    and would in fact safeguard, its customers’ personal and proprietary information.
          188. AT&T intentionally misled its customers regarding its data protection
    practices in order to attract customers and evade prosecution for its unlawful acts.
    Indeed, AT&T told Mr. Shapiro after each SIM swap attack that his account would
    be safe from future breaches, and in reliance on those assurances, Mr. Shapiro did
    not close his AT&T wireless account.
          189. AT&T’s actions detailed herein constitute an unlawful business act or
    practice. As alleged herein, AT&T’s conduct is a violation of the California
    constitutional right to privacy, the FCA, and the CLRA.
          190. AT&T’s actions detailed herein constitute an unfair business act or
    practice.
          191. AT&T’s conduct lacks reasonable and legitimate justification in that
    Mr. Shapiro has been misled as to the nature and integrity of AT&T’s goods and
    services and has suffered injury as a result.
          192. The gravity of the harm caused by AT&T’s practices far outweigh the
    utility of AT&T’s conduct. AT&T’s practices were contrary to the letter and spirit
    of the FCA and its corresponding regulations, which require cell carriers to
    disclose customers’ CPNI only upon proper notice, consent, and authorization, and
    aims to vest carrier customers with control over their data. Due to the surreptitious
    nature of AT&T’s actions, Mr. Shapiro could not have reasonably avoided the
    harms incurred as a result.
          193. As the FCA establishes, it is against public policy to allow carrier
    employees or other third parties to access, use, or disclose telecommunications

                                     – 45 –
                                   COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 47 of 58 Page ID #:47




    customers’ sensitive account information. The effects of AT&T’s conduct are
    comparable to or the same as a violation of the FCA.
          194. AT&T’s actions detailed herein constitute a fraudulent business act or
    practice.
          195. As established herein, Mr. Shapiro has suffered economic harm as a
    result of AT&T’s unfair competition. Additionally, had AT&T disclosed the true
    nature and extent of its data security and protection practices—and the flaws
    inherent in its systems—and its unwillingness to properly protect its customers,
    Mr. Shapiro would not have subscribed to or paid as much money for AT&T’s
    wireless services.
          196. Mr. Shapiro seeks injunctive and declaratory relief for AT&T’s
    violations of the UCL. Mr. Shapiro seeks public injunctive relief against AT&T’s
    unfair and unlawful practices in order to protect the public and restore to the
    parties in interest money or property taken as a result of AT&T’s unfair
    competition. Mr. Shapiro seeks a mandatory cessation of AT&T’s practices.
                                       COUNT III
              Violations of the California Constitutional Right to Privacy
          197. Mr. Shapiro realleges and incorporates all of the preceding paragraphs
    as though fully set forth in this cause of action.
          198. The California Constitution declares that, “All people are by nature
    free and independent and have inalienable rights. Among these are enjoying and
    defending life and liberty, acquiring, possessing, and protecting property, and
    pursuing and obtaining safety, happiness, and privacy.” Cal. Const. Art. I, § 1.
          199. Mr. Shapiro has a reasonable expectation of privacy in his mobile
    device and his AT&T account information.
          200. AT&T intentionally intruded on and into Mr. Shapiro’s solitude,
    seclusion, or private affairs by allowing its employees and third parties to



                                      – 46 –
                                    COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 48 of 58 Page ID #:48




    improperly access Mr. Shapiro’s confidential AT&T account information without
    proper consent or authority.
          201. The reasonableness of Mr. Shapiro’s expectations of privacy is
    supported by AT&T and its agents’ unique position to safeguard his account data,
    including the sensitive and confidential information contained therein, and protect
    Mr. Shapiro from SIM swap attacks.
          202. AT&T and its agents’ intrusions into Mr. Shapiro’s privacy are highly
    offensive to a reasonable person. This is evidenced by federal legislation enacted
    by Congress and rules promulgated and enforcement actions undertaken by the
    FCC aimed at protecting AT&T customers’ sensitive account data from
    unauthorized use or access.
          203. The offensiveness of AT&T’s conduct is heightened by its material
    misrepresentations to Mr. Shapiro concerning the safety and security of his
    account.
          204. Mr. Shapiro suffered great personal and financial harm by the
    intrusion into his private affairs, as detailed throughout this Complaint.
          205. AT&T’s actions and conduct complained of herein were a substantial
    factor in causing the harm suffered by Mr. Shapiro. But for AT&T employees’
    involvement in a conspiracy to rob Mr. Shapiro, and AT&T’s failure to protect Mr.
    Shapiro from such harm through adequate security and oversight systems and
    procedures, Mr. Shapiro would not have had his personal privacy repeatedly
    violated and would not have been a victim of SIM swap theft.
          206. As a result of AT&T’s actions, Mr. Shapiro seeks nominal and
    punitive damages in an amount to be determined at trial. Mr. Shapiro seeks
    punitive damages because AT&T’s actions were malicious, oppressive, willful.
    AT&T knew or should have known about the risks faced by Mr. Shapiro, and the
    grave consequences of such risks. Nonetheless, AT&T utterly failed to protect Mr.

                                     – 47 –
                                   COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 49 of 58 Page ID #:49




    Shapiro – instead allowing its employees to profit to his detriment. Punitive
    damages are warranted to deter AT&T from engaging in future misconduct.
                                         COUNT IV
                                         Negligence
          207. Mr. Shapiro realleges and incorporates all of the preceding paragraphs
    as though fully set forth in this cause of action.
          208.    AT&T owed a duty to Mr. Shapiro—arising from the sensitivity of his
    AT&T account information and the foreseeability of harm to Mr. Shapiro should
    AT&T fail to safeguard and protect such data—to exercise reasonable care in
    safeguarding his sensitive personal information. This duty included, among other
    things, designing, maintaining, monitoring, and testing AT&T’s and its agents’,
    partners’, and independent contractors’ systems, protocols, and practices to ensure
    that Mr. Shapiro’s information was adequately secured from unauthorized access.
          209. Federal law and regulations, as well as AT&T’s privacy policy,
    acknowledge AT&T’s duty to adequately protect Mr. Shapiro’s confidential
    account information.
          210. AT&T owed a duty to Mr. Shapiro to protect his sensitive account data
    from unauthorized use, access, or disclosure. This included a duty to ensure that
    his CPNI was only used, accessed, or disclosed with proper consent.
          211. AT&T owed a duty to Mr. Shapiro to implement a system to safeguard
    against and detect unauthorized access to Mr. Shapiro’s AT&T data in a timely
    manner.
          212. AT&T owed a duty to Mr. Shapiro to disclose the material fact that its
    data security practices were inadequate to safeguard Mr. Shapiro’s AT&T account
    data from unauthorized access by its own employees and others.
          213. AT&T had a special relationship with Mr. Shapiro due to its status as
    his telecommunications carrier, which provided an independent duty of care.


                                      – 48 –
                                    COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 50 of 58 Page ID #:50




    AT&T had the unique ability to protect its systems and the data it stored thereon
    from unauthorized access.
          214. Mr. Shapiro’s willingness to contract with AT&T, and thereby entrust
    AT&T with his confidential and sensitive account data, was predicated on the
    understanding that AT&T would undertake adequate security and consent
    precautions.
          215. AT&T breached its duties by, inter alia: (a) failing to implement and
    maintain adequate security practices to safeguard Mr. Shapiro’s AT&T account and
    data—including his CPNI—from unauthorized access, as detailed herein; (b)
    failing to detect unauthorized access in a timely manner; (c) failing to disclose that
    AT&T’s data security practices were inadequate to safeguard Mr. Shapiro’s data;
    (d) failing to supervise its employees and prevent employees from accessing and
    utilizing Mr. Shapiro’s AT&T account and data without authorization; and (e)
    failing to provide adequate and timely notice of unauthorized access.
          216. AT&T was also negligent in its authorization of Mr. Shapiro’s SIM
    card swap. AT&T knew or should have known that at least forty different AT&T
    numbers had been moved to the same cell phone (identified by its IMEI) in the
    months leading up to Mr. Shapiro’s first SIM swap. AT&T knew or should have
    known that this was highly suspicious. Nevertheless, AT&T effectuated the
    transfer of Mr. Shapiro’s AT&T account to this same cell phone. AT&T had the
    technical capacity to track this behavior—as reflected in its willingness to do so for
    law enforcement—but nonetheless failed to utilize it for the benefit and protection
    of Mr. Shapiro.
          217. But for AT&T’s breaches of its duties, Mr. Shapiro’s data would not
    have been accessed by unauthorized individuals.
          218. Mr. Shapiro was a foreseeable victim of AT&T’s inadequate data
    security practices and consent mechanisms. As alleged fully above, AT&T knew or

                                     – 49 –
                                   COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 51 of 58 Page ID #:51




    should have known that SIM swaps presented a serious threat to its customers,
    including Mr. Shapiro, before Mr. Shapiro’s account was breached for the first
    time. AT&T also knew or should have known that Mr. Shapiro was at a heightened
    risk after (1) he informed AT&T employees that he had digital currency accounts, a
    risk factor AT&T has acknowledged, and (2) he had previously been the target of
    SIM swap attacks. AT&T also knew that improper procedures and systems to
    safeguard customer data could allow its employees to authorize customers’
    accounts and data and sell that to third parties, as occurred in the 2015 FCC
    enforcement action.
           219. AT&T knew or should have known that unauthorized accesses would
    cause damage to Mr. Shapiro. AT&T admitted that unauthorized account access
    presents a significant threat to its customers, and became aware during its 2015
    FCC enforcement action of the harms caused by unauthorized account access.
           220. AT&T’s negligent conduct provided a means for unauthorized
    individuals to access Mr. Shapiro’s AT&T account data, take over control of his
    wireless phone, and use such access to hack into numerous online accounts in
    order to rob Mr. Shapiro and steal his personal information.
           221. As a result of AT&T’s failure to prevent unauthorized accesses, Mr.
    Shapiro suffered grave injury, as detailed herein, including severe emotional
    distress. This emotional distress arose out of AT&T’s breach of its legal duties. The
    damages Mr. Shapiro suffered were a proximate, reasonably foreseeable result of
    AT&T’s breaches of its duties.
           222. Therefore, Mr. Shapiro is entitled to damages in an amount to be
    proven at trial.
                                       COUNT V
                          Negligent Supervision and Entrustment
           223. Mr. Shapiro realleges and incorporates all of the preceding paragraphs
    as though fully set forth in this cause of action.
                                      – 50 –
                                    COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 52 of 58 Page ID #:52




          224. AT&T conducts its business activities through employees or other
     agents, including AT&T contract attorneys.
          225. AT&T is liable for harm resulting from its agents’ and employees’
     conduct because AT&T was reckless or negligent in employing and/or entrusting
     employees—including, but not limited to, White and Jack—in work involving the
     risk of harm to others, including Mr. Shapiro.
          226. As alleged herein, AT&T knew or had reason to believe that its
     employees—including Jack and/or White—were unfit and nonetheless failed to
     exercise reasonable care in properly investigating Jack and/or White. AT&T was
     negligent in supervising these employees and in entrusting them with what it knew
     to be highly sensitive confidential information. AT&T knew or had reason to
     know that its employees—including, but not limited to, White and Jack—were
     likely to harm others in view of the work AT&T entrusted to them.
          227. As alleged by law enforcement, White conducted 29 unauthorized
     SIM swaps and Jack conducted 12 swaps in the same month of Mr. Shapiro’s first
     two SIM swaps. Nonetheless, on information and belief, AT&T failed to take
     appropriate action to prevent additional harm to its customers, including Mr.
     Shapiro. Additionally, AT&T was aware that Jack and White had the ability to
     access its customers’ accounts, including Mr. Shapiro’s account, and conduct SIM
     swaps, even without proper customer authorization. Nonetheless, AT&T failed to
     put any additional protections on customer accounts to prevent such swaps.
          228. Upon information and belief, AT&T failed to exercise due care in
     selecting its employees, and thereby negligently or reckless employed Jack and
     White to do acts—including accessing customer accounts and effectuating SIM
     swaps—which necessarily brought them in contact with others, including Mr.
     Shapiro, while in the performance of those duties.



                                     – 51 –
                                   COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 53 of 58 Page ID #:53




          229. AT&T’s acts, as alleged herein, were negligent in that they created the
     risk of White’s and Jack’s criminal acts.
          230. Unauthorized account access and SIM swapping, the particular risks
     and hazards that Mr. Shapiro was exposed to, are tied to AT&T’s negligence and
     recklessness in employing, and continuing to employee through the time of Mr.
     Shapiro’s injury, Jack and White.
          231. AT&T also failed to properly supervise its employees, and instead
     continued to negligently entrust them with sensitive customer data. Had AT&T
     fired Jack and White when they first began to exhibit suspicious SIM swap
     activity—including but not limited to an irregularly high number of SIM swaps in
     a short period of time—Mr. Shapiro would not have been injured.
          232. Had AT&T built a system to effectively authenticate and verify
     consumer consent before allowing employees to access their CPNI—as required
     by the FCA—Mr. Shapiro would not have been injured.
          233. Had AT&T prevent individual employees from unilaterally changing
     customer’s SIM swaps without proper oversight, Mr. Shapiro would not have been
     injured.
          234. In sum, AT&T gave its employees the tools and opportunities they
     needed to gain unauthorized access to Mr. Shapiro’s account and failed to prevent
     them from doing so, thereby allowing them to use AT&T’s systems to perpetuate
     privacy breaches and thefts against Mr. Shapiro.
          235. Jack’s and/or White’s actions have a causal nexus to their
     employment. Mr. Shapiro’s injuries arose out of his contract with AT&T as his
     carrier, and AT&T’s resulting access to his CPNI and account data. The risk of
     injury to Mr. Shapiro was inherent in the AT&T working environment.
          236. Mr. Shapiro’s injury was also foreseeable. As alleged fully above,
     AT&T was aware of the risks that SIM swaps presented to their customers. AT&T

                                     – 52 –
                                   COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 54 of 58 Page ID #:54




     was also aware that its customers’ accounts were vulnerable to unauthorized
     access to and sale by its own employees, as demonstrated in the 2015 FCC
     enforcement action. AT&T was aware that Mr. Shapiro was at a heightened risk
     due to his possession of cryptocurrency and the previous unauthorized SIM swaps
     conducted in his AT&T account. Nonetheless, AT&T failed to take appropriate
     steps to protect Mr. Shapiro, in violation of its duty.




                                       COUNT VI
            Violations of California’s Consumers Legal Remedies Act (“CLRA”),
                          California Civil Code § 1750 et seq.
           237. Mr. Shapiro realleges and incorporates all of the preceding paragraphs
    as though fully set forth in this cause of action.
           238. As an AT&T customer, Mr. Shapiro engaged in transactions with
    AT&T concerning his wireless service. Mr. Shapiro sought and acquired services
    from AT&T for his personal, family and household purposes.
           239. AT&T has engaged in unfair methods of competition and unfair or
    deceptive acts or practices intended to result and which did result in the sale of
    wireless services to Mr. Shapiro, as detailed herein.
           240. AT&T’s acts and representations concerning the safeguards it employs
    to protect consumer account data—including Mr. Shapiro’s data—is likely to
    mislead reasonable consumers, including Mr. Shapiro, as detailed herein.
           241. AT&T has represented that its goods or services have characteristic
    and/or benefits that they do not have. Specifically, AT&T represented that, in
    purchasing AT&T wireless cell service and using AT&T-compatible phones, Mr.
    Shapiro’s confidential data would be safeguarded and protected.


                                      – 53 –
                                    COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 55 of 58 Page ID #:55




          242. In actuality, as alleged fully above, AT&T’s wireless service did not
    protect and/or safeguard Mr. Shapiro’s data from unauthorized access, and AT&T’s
    employees did in fact sell access to customers’ personal information, as detailed
    herein.
          243. AT&T’s misrepresentations and omissions concerning its
    safeguarding of customers’ data were materially misleading. As alleged fully
    above, a reasonable person would attach importance to the privacy of his sensitive
    account data in determining whether to contract with a wireless cell phone
    provider.
          244. AT&T was obligated to disclose the shortcomings of its data
    protection practices, as AT&T had exclusive knowledge of material facts not
    known or knowable to its customers, AT&T actively concealed these material facts
    from its customers, and such disclosures were necessary to materially qualify its
    representations that it did not sell and took measures to protect consumer data and
    its partial disclosures concerning its use of customers’ CPNI. Further admissions
    were necessary to prevent AT&T’s statements from misleading the public in light
    of the undisclosed facts concerning its security procedures.
          245. Further, AT&T was obligated to disclose its practices—by seeking
    consent beforehand or informing customers of breaches in the aftermath—under
    the FCA.
          246. AT&T’s actions and conduct complained of herein were a substantial
    factor in causing the harm suffered by Mr. Shapiro, as alleged fully above.
          247. Mr. Shapiro seeks injunctive relief, damages—including actual,
    statutory, and punitive damages—and attorneys’ fees for AT&T’s violations of the
    CLRA. Plaintiff seeks public injunctive relief against AT&T’s unfair and unlawful
    practices in order to protect the public and restore to the parties in interest money
    or property taken as a result of AT&T’s unfair methods of competition and unfair

                                     – 54 –
                                   COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 56 of 58 Page ID #:56




    or deceptive acts or practices. Mr. Shapiro seeks a mandatory cessation of AT&T’s
    practices and proper safeguarding of confidential customer account data.
                                       COUNT VII
                    Violation of the Computer Fraud and Abuse Act
                                     18 U.S.C. § 1030
          248. Mr. Shapiro realleges and incorporates all of the preceding paragraphs
    as though fully set forth in this cause of action.
          249. Mr. Shapiro’s mobile device is capable of connecting to the Internet.
          250. AT&T employees, Jack and/or White, in the scope of their
    employment, intentionally accessed Mr. Shapiro’s mobile device, and assisted
    others in accessing his mobile device, without Mr. Shapiro’s authorization, in order
    to assist hackers in their theft from Mr. Shapiro.
          251. The AT&T employees, Jack and/or White, took these actions knowing
    that they would cause damage to Mr. Shapiro’s mobile device, as well as damage
    to the information located on his mobile device.
          252. The AT&T employees, Jack and/or White, caused Mr. Shapiro’s
    mobile device and much of the data on it to be unusable to him.
          253. Because of the AT&T employees’ actions, Mr. Shapiro suffered
    damage to his mobile device and damage to information on his mobile device,
    including being unable to access information and data on his mobile device and
    being unable to access his personal accounts, including his personal (e.g. Evernote
    and G-mail) and financial (e.g. cryptocurrency and PayPal) accounts.
          254. The act of swapping Mr. Shapiro’s AT&T wireless SIM card was in
    the scope of the AT&T employees’ work.
          255. Further, Mr. Shapiro spent in excess of $5,000 investigating who
    accessed his mobile device and damaged information on it.
     VII. PRAYER FOR RELIEF



                                      – 55 –
                                    COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 57 of 58 Page ID #:57




          256. WHEREFORE, Plaintiff Seth Shapiro requests that judgment be
    entered against Defendant and that the Court grant the following:
          A.     Judgment against Defendant for Plaintiff’s asserted causes of action;
          B.     Public injunctive relief requiring cessation of Defendant’s acts and
                 practices complained of herein pursuant to, inter alia, Cal. Bus. &
                 Prof. Code § 17200, 47 U.S.C. § 401(b), and Cal. Civ Code § 1780;
          C.     Pre- and post-judgment interest, as allowed by law;
          D.     An award of monetary damages, including punitive damages, as
                 allowed by law;
          E.     Reasonable attorneys’ fees and costs reasonably incurred, including
                 but not limited to attorneys’ fees and costs pursuant to 47 U.S.C. §
                 206; and
          F.     Any and all other and further relief to which Plaintiff may be entitled.
                              DEMAND FOR JURY TRIAL
           Plaintiff demands a trial by jury of all issues so triable.


     Dated: October 15, 2019                      Respectfully submitted,




                                                  Thomas D. Warren (SBN 160921)
                                                  twarren@piercebainbridge.com
                                                  Andrew Calderón (SBN 316673)
                                                  acalderon@piercebainbridge.com
                                                  PIERCE BAINBRIDGE BECK PRICE
                                                  & HECHT LLP
                                                  355 S. Grand Avenue, 44th Floor,
                                                  Los Angeles, CA 90071
                                                  Telephone: (213) 262-9333
                                                  Facsimile: (213) 279-2008




                                      – 56 –
                                    COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1 Filed 10/17/19 Page 58 of 58 Page ID #:58




                                           Dwayne D. Sam (pro hac application
                                           forthcoming)
                                           dsam@piercebainbridge.com
                                           PIERCE BAINBRIDGE BECK PRICE
                                           & HECHT LLP
                                           600 Pennsylvania Aveniue NW
                                           South Tower, Suite 700
                                           Washington, DC 20004
                                           Telephone: (202) 843-8342
                                           Facsimile: (202) 899-5666




                                  – 57 –
                                COMPLAINT
